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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff,
                                                       Case No. 10-20235
 v.
                                                       HONORABLE DENISE PAGE HOOD
 WILLIAM CORTEZ MELCHOR (D-8),

       Defendant.
 _____________________________________/

       ORDER REGARDING DOCUMENTS FILED BY DEFENDANT MELCHOR

        The matter is before the Court on Defendant William Cortez Melchor’s July 1, 2013 letter

 regarding the wiretapping of his cell phone and July 10, 2013 Memorandum in Support of Motion

 to Suppress (lack of consent to search dwelling).

        It is well-established that a criminal defendant accused of a felony has a constitutional right

 under the Sixth Amendment to be represented by counsel and to have counsel appointed for him if

 he cannot afford one, or, alternatively, to represent himself in such proceedings. Faretta v.

 California, 422 U.S. 806 (1975). However, a criminal defendant does not have a right to hybrid

 representation. See, United States v. Mosely, 810 F.2d 93, 98 (6th Cir. 1987)(Defendant, although

 a lawyer, was represented by counsel and the Sixth Circuit found that there is potential for undue

 delay and jury confusion when more than one attorney tries a case); United States v. Green, 388 F.3d

 918-922023 (6th Cir. 2004). A court’s discretion to reject hybrid representation may apply to the

 filing of motions. See, United States v. Agofsky, 20 F.3d 866, 872 (8th Cir. 1994)(The court refused

 to consider motions filed by defendant’s mother). The Sixth Circuit’s analysis in Mosely can be

 extended to filings of motions. See, United States v. Safiedine, 2008 WL 324161 *1 (E.D. Mich.
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 Case No. 06-20137, Feb. 6. 2008) (unpublished).

         Given that Melchor is represented by counsel, the Court will not review his letters/requests

 filed by Melchor and not his counsel. As the Court indicated to Melchor on the record previously,

 the time to file motions has passed. The Court delayed the trial in this matter in large part due to

 Melchor’s recent request for new counsel. At the time the Court granted Melchor’s request for new

 counsel, the Court indicated it would not consider any further delay of the trial. See Order No. 328.

 A number of other defendants are awaiting trial with Defendant Melchor. The Court, however,

 allowed the trial to be further delayed because of Melchor’s new counsel’s request for time to

 prepare for trial. The trial is currently scheduled for July 29, 2013. The Court will not delay the

 trial any further.

         Accordingly,

         IT IS ORDERED that Defendant William Melchor’s recent pro se filings will not be

 considered since he is represented by counsel. Any request to suppress (Doc. Nos. 347, 348) is

 DENIED.



                                S/Denise Page Hood
                                Denise Page Hood
                                United States District Judge

 Dated: July 16, 2013

 I hereby certify that a copy of the foregoing document was served upon counsel of record on July
 16, 2013, by electronic and/or ordinary mail.

                                S/LaShawn R. Saulsberry
                                Case Manager




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